              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
             CRIMINAL CASE NO. 1:17-cr-00072-MR-DLH


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
          vs.                   )                    ORDER
                                )
BILLY G. ADAMES and             )
JUAN C. VASQUEZ,                )
                                )
                   Defendants.  )
_______________________________ )


      THIS MATTER is before the Court on Defendant Adames’ Motion to

Dismiss and Memorandum of Law [Doc. 39] and Defendant Vasquez’ Motion

to Join in and Adopt Co-Defendant’s Motion to Dismiss [Doc. 41]. The

Government opposes Defendants’ motion. [Doc. 43].

I.    PROCEDURAL BACKGROUND

      On June 6, 2017, Defendants Billy G. Adames and Juan C. Vasquez

(“Defendants”) were charged in a Bill of Indictment. [Doc. 1]. In Count One,

Defendant Adames was charged with speeding and driving recklessly, in

violation of N.C.G.S. § 20-140, while fleeing and attempting to elude a law

enforcement officer by motor vehicle, all in violation of N.C.G.S. § 20-

141.5(b) and 18 U.S.C. § 13; and in Count Three with possession of


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marijuana in violation of 21 U.S.C. § 844(a). [Id.]. Defendant Vasquez was

charged in Count Two with speeding and driving recklessly, in violation of

N.C.G.S. § 20-140, while fleeing and attempting to elude a law enforcement

officer by motor vehicle, all in violation of N.C.G.S. § 20-141.5(b) and 18

U.S.C. § 13. [Id.]. Defendants’ initial appearances and arraignments were

held on June 7, 2017.

      On August 1, 2017, the Defendants were charged in a Superseding Bill

of Indictment, which charged the same offenses and added a Notice of

Forfeiture by which the Government notified Defendants that the motor

vehicles driven by persons charged with the offense of felony speeding to

elude arrest are subject to forfeiture.        [Doc. 20].    On August 9, 2017,

arraignments on the Superseding Indictment were held. On August 25,

2017, Defendant Adames moved to dismiss Count One of the Superseding

Indictment.1 [Doc. 39]. The Government opposes this motion. [Doc. 43].




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  On August 28, 2017, Defendant Vasquez filed a “Motion to Join in and Adopt Co-
Defendant’s Motion to Dismiss.” [Doc. 41]. It is unclear what Defendant Vasquez seeks
to accomplish by joining in Defendant Adames’ motion to dismiss. The motion to dismiss
relates only to Count One of the Superseding Indictment and does not request relief
relative to Count Two, which is the only count of the Indictment under which Defendant
Vasquez is charged. Nonetheless, the Court will grant Defendant Vasquez’s motion to
join.
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II.    ANALYSIS

       Defendants’ motion purports to seek dismissal of Count One of the

Superseding Indictment “pursuant to Fed.R.Crim.P. 12(b)(3)(B) (‘[A]t any

time while the case is pending, the court may hear a claim that the indictment

or information fails to invoke the court’s jurisdiction or to state an

offense.’)….” (Emphasis added). [Doc. 39 at 1]. This language, which

Defendants attribute to Rule 12(b)(3)(B), no longer exists. It was removed

in the 2014 Amendments to Rule 12. Current Rule 12(b)(3)(B) sets forth the

five grounds on which a defendant may seek dismissal of an indictment or

information, including the failure to state an offense.     Rule 12(b)(2), on the

other hand, was revised in 2014 to provide, “A motion that the court lacks

jurisdiction may be made at any time while the case is pending.” Given

Defendants’ failure to cite any current, controlling provision of Rule 12, it is

unclear if Defendants are seeking relief for lack of jurisdiction or for failure to

state an offense.     As explained below, however, neither avenue offers

Defendants any relief.

       Count One of the Superseding Indictment alleges:

                   On or about June 2, 2017, within the special
             maritime and territorial jurisdiction of the United
             States, that is, the Great Smoky Mountains National
             Park, in Swain County, within the Western District of
             North Carolina, and elsewhere, the defendant, [ ]
             BILLY G. ADAMES, did willfully operate a motor
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           vehicle while fleeing and attempting to elude a law
           enforcement officer who was in the lawful
           performance of his duties, and, while doing so, sped
           in excess of 15 miles per hour over the legal speed
           limit, and drove recklessly as proscribed by N.C.G.S.
           § 20-140.
                  All in violation of North Carolina General
           Statute Section 20-141.5(b), and Title 18, United
           States Code, Section 13.

[Doc. 20 at 1-2 (emphasis added)]. Section 20-140 defines reckless driving

as driving any vehicle “carelessly and heedlessly in willful or wanton

disregard of the rights or safety of others” or “without due caution and

circumspection and at a speed or in a manner so as to endanger any person

or property.” N.C. Gen. Stat. § 20-140(a), (b).

     Section 20-141.5(b) provides:

           (a) It shall be unlawful for any person to operate a
           motor vehicle on a street, highway, or public
           vehicular area while fleeing or attempting to elude a
           law enforcement who is in the lawful performance of
           his duties. Except as provided in subsection (b) of
           this section, violation of the section shall be a Class
           1 misdemeanor.

           (b) If two or more of the following aggravating factors
           are present at the time the violation occurs, violation
           of this section shall be a Class H felony.
                   (1) Speeding in excess of 15 miles per hour
                   over the legal speed limit.
                                       …
                   (3) Reckless driving as proscribed by G.S. 20-
                   140.

N.C. Gen. Stat. § 20-141.5.
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     Defendants argue that Count One should be dismissed because it

cannot properly be brought under the Assimilative Crimes Act (the “ACA”),

18 U.S.C. § 13(a), since the conduct that supports the violation of N.C.G.S.

§ 20-140.5(b) is punishable under federal law. [Doc. 39 at 1]. The ACA

subjects persons on federal lands to federal prosecution in federal court for

violations of state criminal statutes in “enclaves” where federal lands are

located. See Lewis v. U.S., 523 U.S. 155, 155 (1998); U.S. v. Fox, 60 F.3d

181, 183 (4th Cir. 1995). “The ACA transforms a crime against the state into

a crime against the federal government.” U.S. v. Kiliz, 694 F.2d 628, 629

(9th Cir. 1982) (citing U.S. v. Press Publishing Co., 219 U.S. 1 (1911)). If,

however, the conduct at issue is made punishable by federal law, then the

federal law applies and the ACA does not assimilate the state statute. See

Lewis, 523 U.S. at 165.

     Here, the conduct alleged – fleeing on a motor vehicle and attempting

to elude arrest and driving recklessly and in excess of 15 miles per hour

above the legal speed limit in doing so – occurred in the Great Smoky

National Park, a federal “enclave” located within Swain County, North

Carolina. [See Doc. 20]. Defendants were charged under the ACA for

violation of North Carolina criminal statute, N.C.G.S § 20-141.5(b).




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      The issue is whether the conduct alleged in Count One is made

punishable pursuant to federal law, such that the ACA does not apply to

assimilate N.C.G.S. § 20-141.5.       Defendants contend existing federal

regulations, including 36 C.F.R. §§ 4.12, 4.21, and 4.22, serve to punish the

acts he allegedly committed.2 None of these provisions, either singly or

collectively, however, capture the conduct alleged in Count One. Section

4.12 prohibits the “[f]ailure to comply with the directions of traffic control

device.” 36 C.F.R. § 4.12. Section 4.21 sets park area speed limits and

prohibits operating a vehicle in excess of those speeds. 36 C.F.R. § 4.21.

Although the conduct alleged in the Count One includes the aggravating

factor of Defendant speeding in excess of 15 miles per hour over the legal

speed limit, neither of these sections address or relate to the other facts

alleged in the indictment, namely, reckless driving, as defined in N.C.G.S. §

20-140, or the much more severe conduct of fleeing or attempting to elude a

law enforcement officer. Section 4.22 prohibits certain conduct relative to

operating a motor vehicle, but by its express terms includes only offenses

that “are less serious than reckless driving.” 36 C.F.R. § 4.22. None of the

offenses described in Section 4.22 constitute or even approximate the

severe nature of the conduct proscribed by N.C.G.S. § 20-141.5 or that


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constitute reckless driving as defined in N.C.G.S. § 20-140. The regulatory

provisions to which Defendants point prohibit much less serious conduct that

than alleged in the indictment. Thus, the Department of Interior has left it to

state law to define the parameters of a crime consisting of eluding law

enforcement recklessly and at a high rate of speed.

      The cases on which Defendants rely are inapposite. They pertain to

the situation where the defendants were charged under the regulations for

committing lesser crimes such as speeding (§ 4.21), failure to stop at a stop

sign (§ 4.12), and unsafe operation (§ 4.22). See U.S. v. Luther, No. 1:14-

cr-330, 2015 WL 853906 (E.D. Va. Feb. 26, 2015) (Cacheris, J.); U.S. v.

Emaikwu, No. PJM 11-0145, 2011 WL 4025451 (D. Md. Sept. 9, 2011)

(Messitte, J.). Those defendants were not charged with the more serious

offense of fleeing to elude law enforcement in a reckless manner well in

excess of the posted speed limit.

      Defendants also argue that 36 C.F.R. §§ 261.3(a) (prohibiting

threatening or interfering with a forest officer engaged in the performance of

his official duties) and 261.10(m) (prohibiting the failure to stop a vehicle

when directed to by a forest officer) criminalize the acts he allegedly

committed. [Doc. 39 at 5]. These provisions, however, are promulgated by

the Secretary of Agriculture and relate to Forest Service officers and their

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performance of duties in the National Forest System.              They have no

applicability to National Park Service lands.

      Defendants also argue as a corollary matter that 36 C.F.R. § 4.2 “is the

proper means to bring North Carolina’s law to bear on a defendant,” [Doc.

47 at 3] because this provision “adopts the North Carolina flee to elude

statute” and, “[t]hus, the government should proceed under the regulations

not the ACA” [Doc. 39 at 10]. Section 4.2 provides: “Unless specifically

addressed by regulations in this chapter, traffic and the use of vehicles within

a park area are governed by State law…. Violating a provision of State law

is prohibited.” 36 C.F.R. § 4.2. The Fourth Circuit has addressed this issue.

In U.S. v. Hope, 408 Fed.Appx. 695 (4th Cir. 2011), the Fourth Circuit

affirmed a district court’s implicit holding that just because a state statute is

also assimilated under section 4.2 does not preclude it also being assimilated

under 18 U.S.C. 13. “The ‘primary question’ is whether ‘applicable federal

law indicate[s] an intent to punish conduct such as the defendant’s to the

exclusion of the particular state statute at issue.’” U.S. v. Hope, No. 3:09-cr-

39-1, 2010 WL 2405354, at *2 (W.D. Va. June 10, 2010) affirmed per curiam

408 Fed.Appx. at 696 (quoting Lewis, 523 U.S. at 166). “[A]pplicable federal

law was not intended to punish Defendant’s conduct to the exclusion of the

Virginia felony eluding statute, and the precise act prohibited by Virginia’s

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              eluding statute is not specifically prohibited by federal law.” Id.. For this

              reason, section 4.2 does not provide the Defendants with any basis for

              dismissal of Count One.

                      Because Defendant’s alleged conduct is not made punishable by any

              enactment of Congress or Department of Interior Regulation, the ACA

              assimilates N.C.G.S. § 20-141.5 and Count One of the Superseding

              Indictment was properly brought under the ACA. See Lewis, 523 U.S. at

              164; U.S. v. Hope, 408 Fed.Appx. 695, at *1 (4th Cir. 2011) (affirming per

              curiam No. 3:09-cr-00039-1, 2010 WL 2405354 (W.D. Va. June 10, 2010)

              (Moon, J.)).

                       IT IS, THEREFORE, ORDERED that the Defendant Juan C.

              Vasquez’s Motion to Join in and Adopt Co-Defendant’s Motion to Dismiss

              [Doc. 41] is GRANTED and Defendant Billy G. Adames’ Motion to Dismiss

              [Doc. 39] is DENIED.

                      IT IS SO ORDERED.
Signed: November 1, 2017




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